                              Case 23-10877-CTG                     Doc 1        Filed 06/30/23            Page 1 of 21

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 ____________________ District of _________________
                                  Delaware
                                        (State)
 Case number (If known): _________________________ Chapter _____
                                                            11                                                                     Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           ______________________________________________________________________________________________________
                                              File Storage Partners, LLC



 2.   All other names debtor used             ______________________________________________________________________________________________________
                                              None
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               ___
                                               8 ___
                                                  6 – ___
                                                      3 ___
                                                          7 ___
                                                             1 ___
                                                                6 ___
                                                                   9 ___
                                                                      2 ___
                                                                         0
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              1357 Ashford Avenue, Pmb 373
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                               San Juan                  PR       00907
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                               n/a
                                              ______________________________________________
                                              County                                                     1148       American Pkwy
                                                                                                         _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         Papillion                  NE        68046
                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                   None
                                              ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
                              Case 23-10877-CTG                 Doc 1         Filed 06/30/23              Page 2 of 21

Debtor        _______________________________________________________
               File Storage Partners, LLC                                                     Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          X Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          x None of the above


                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___
                                              5 ___
                                                 1 ___
                                                    8 ___
                                                       2

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          X Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                          X   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
                                 Case 23-10877-CTG                Doc 1       Filed 06/30/23            Page 3 of 21

Debtor           File Storage Partners, LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        
                                          x No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an             
                                          x Yes.           See attached rider
                                                    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          
                                          x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                          
                                          x A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12.   Does the debtor own or have        
                                          x No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
                               Case 23-10877-CTG                  Doc 1         Filed 06/30/23            Page 4 of 21

Debtor        _______________________________________________________
               File Storage Partners, LLC                                                       Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                    Funds will be available for distribution to unsecured creditors.
                                         
                                         x After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                         
                                         x 1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                  
                                                                             x $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                  
                                                                             x $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                          06/30/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Timothy Furey
                                             _____________________________________________                  Timothy Furey
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name


                                             Title _________________________________________
                                                     Chief Restructuring Officer




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
                            Case 23-10877-CTG                   Doc 1          Filed 06/30/23        Page 5 of 21

Debtor         File Storage Partners, LLC
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                         /s/ Evan T. Miller
                                            _____________________________________________            Date       06/30/2023
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            Evan T. Miller
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Bayard, P.A.
                                           _________________________________________________________________________________________________
                                           Firm name

                                           _________________________________________________________________________________________________
                                           600      N. King Street, Suite 400
                                           Number     Street
                                            Wilmington
                                           ____________________________________________________            ____________
                                                                                                           DE           ______________________________
                                                                                                                        19801
                                           City                                                            State        ZIP Code

                                            302-429-4227
                                           ____________________________________                             emiller@bayardlaw.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                           ______________________________________________________
                                            5364                                                  ____________
                                                                                                  DE
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
                Case 23-10877-CTG         Doc 1     Filed 06/30/23     Page 6 of 21




                                              Rider 1

           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the entities below (collectively, the “Debtors”) filed a Petition
in the United States Bankruptcy Court for the District of Delaware for relief under chapter 11 of
title 11 of the United States Code. The Debtors have moved for joint administration of these cases
under the case number assigned to the chapter 11 case of File Service Partners, LLC.

       •     File Service Partners, LLC

       •     Afton Blockchain LLC

       •     Filtech SPV LLC

       •     Midwest Blockchain Inc.
             Case 23-10877-CTG          Doc 1     Filed 06/30/23     Page 7 of 21




                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF DELAWARE


In re:                                            Chapter 11 (Subchapter V)

FILE STORAGE PARTNERS, LLC,                       Case No. 23-[_______] ([___])

                         Debtor.


                      STATEMENT OF CORPORATE OWNERSHIP

       Pursuant to Rules 1007(a)(1) and 7007.1 of the Fed. R. Bankr. P., the following is a list of
corporations, other than a governmental unit, that directly or indirectly own 10% or more of any
class of the above-captioned debtor’s equity interests:

            Shareholder                               Percentage of Equity Held


File Storage Company 1 Inc.                                        51%



DSM Tech Enterprises Inc.                                          49%
             Case 23-10877-CTG           Doc 1     Filed 06/30/23     Page 8 of 21




                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF DELAWARE


In re:                                             Chapter 11 (Subchapter V)

FILE STORAGE PARTNERS, LLC,                        Case No. 23-[_______] ([___])

                         Debtor.


                         LIST OF EQUITY SECURITY HOLDERS

      Pursuant to 1007(a)(3) of the Fed. R. Bankr. P., the following is a list of entities holding an
interest in the above-captioned debtor:

                                                                                  Percentage of
               Name                              Mailing Address
                                                                                  Equity Held

                                         1357 Ashford Avenue, Pmb 373,
File Storage Company 1 Inc.                                                            51%
                                         San Juan, PR 00907


                                         1357 Ashford Avenue, Pmb 373,
DSM Tech Enterprises Inc.                                                              49%
                                         San Juan, PR 00907
                                     Case 23-10877-CTG               Doc 1        Filed 06/30/23             Page 9 of 21


      Fill in this information to identify the case:

      Debtor name     File Storage Partners, LLC
      United States Bankruptcy Court for the:                         District of Delaware

      Case number (If known):
                                                                               (State)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete              Name, telephone number, and   Nature of the claim   Indicate if claim   Amount of unsecured claim
     mailing address, including zip code        email address of creditor     (for example, trade   is contingent,      If the claim is fully unsecured, fill in only
                                                contact                       debts, bank loans,    unliquidated, or    unsecured claim amount. If claim is partially
                                                                              professional          disputed            secured, fill in total claim amount and
                                                                              services, and                             deduction for value of collateral or setoff to
                                                                              government                                calculate unsecured claim.
                                                                              contracts)
                                                                                                                        Total claim,   Deduction for      Unsecured
                                                                                                                        partially      value of           claim
                                                                                                                        secured        collateral or
                                                                                                                                       setoff
      D. LEDGER PARTNERS LLC
1                                               James Harrison                                                                                           $2,380,951.05
     5152 NORTH EDGEWOOD DRIVE
                                                                                                    Contingent &
                                                (801) 318-2786                Loan
     SUITE 375                                                                                      Disputed
                                                db@clarkecp.com
     PROVO, UT 84604                            jh@clarkecp.com
     GENESIS GLOBAL CAPITAL LLC
2
                                                                                                                        $770,379.98      $9,648.00        $760,731.98
     111 TOWN SQUARE PLACE
     SUITE 1203                                 lending@genesiscap.co         Loan
     JERSEY CITY, NJ 07310

     STATE OF DELAWARE
3
                                                                                                                                                             $507.50
     WILMINGTON OFFICE                                                        Taxes
     820 N. FRENCH ST., 10TH FLOOR
     WILMINGTON, DE 19801


4




5




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 1
                                Case 23-10877-CTG              Doc 1        Filed 06/30/23                Page 10 of 21


    Debtor
                   File Storage Partners, LLC                                                  Case number (if known)
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if claim       Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    is contingent,          If the claim is fully unsecured, fill in only
                                           contact                       debts, bank loans,     unliquidated, or        unsecured claim amount. If claim is partially
                                                                         professional           disputed                secured, fill in total claim amount and
                                                                         services, and                                  deduction for value of collateral or setoff to
                                                                         government                                     calculate unsecured claim.
                                                                         contracts)
                                                                                                                        Total          Deduction for      Unsecured
                                                                                                                        claim, if      value of           claim
                                                                                                                        partially      collateral or
                                                                                                                        secured        setoff


6




7




8




9




10




11




12




13




    Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                      page 2
             Case 23-10877-CTG        Doc 1   Filed 06/30/23   Page 11 of 21




DSM Tech Enterprises Inc.
1357 Ashford Avenue, Pmb 373
San Juan, PR 00907


State of Delaware
Wilmington Office
820 N French St 10th Floor
Wilmington, DE 19801


CoinList Lend LLC
c/o Harvard Business Services, Inc.
16192 Coastal Hwy
Lewes, DE 19958


DARMA Capital Master Fund LP
c/o Walker Cayman Limited
Cayman Corporate Centre
27 Hospital Road
George Town KY KY1-9008


Genesis Global Capital LLC
111 Town Square Place Suite 1203
Jersey City, NJ 07310


PalladiumX SPC Limited
Craigmuir Chambers, Road Town
Tortola, VG 1110
British Virgin Islands


Baseline
509 Wilcox Street Suite 107
Castle Rock, CO 80104


File Storage Ops 1 LLC
1357 Ashford Avenue, Pmb 373
San Juan, PR 00907
            Case 23-10877-CTG   Doc 1   Filed 06/30/23   Page 12 of 21




File Storage Ops 2 Limited
1357 Ashford Avenue, Pmb 373
San Juan, PR 00907


File Store Ops 3 LLC
1357 Ashford Avenue, Pmb 373
San Juan, PR 00907


File Store Ops 4 LLC
1357 Ashford Avenue, Pmb 373
San Juan, PR 00907


Recurring Revenue Generator
1357 Ashford Avenue, Pmb 373
San Juan, PR 00907


D. Ledger Partners LLC
5152 North Edgewood Drive
Suite 375
Provo, UT 84604
                                 Case 23-10877-CTG                Doc 1           Filed 06/30/23               Page 13 of 21

 Fill in this information to identify the case and this filing:


               File Storage Partners, LLC
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         ✔                                                Corporate Ownership Statement and Lists of Equity Holders and Creditors
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    06/30/2023
        Executed on ______________                              /s/ Timothy Furey
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Timothy Furey
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
              Case 23-10877-CTG          Doc 1     Filed 06/30/23     Page 14 of 21




                           ACTION BY WRITTEN CONSENT
                       OF THE MEMBERS AND THE MANAGER OF
                            FILE STORAGE PARTNERS, LLC

                                          June 29, 2023

        In accordance with Sections 18-404(d) and 18-302(d), respectively, of the Delaware
Limited Liability Company Act, 6 Del. C. §§ 18-101 et. seq. (the “LLC Act”) and the Limited
Liability Company Operating Agreement dated as of August 3, 2021, as amended by that certain
Amendment to Operating Agreement dated April 7, 2023 (as so amended, the “LLC Agreement”)
of File Storage Partners, LLC, a Delaware limited liability company (the “Company”), the
undersigned, being the sole remaining Manager and all of the Class A Members of the Company,
hereby take the following actions and adopt the following resolutions by written consent without
a meeting effective for all purposes as of the date set forth in the heading to this consent.
Capitalized terms used but not defined in this Consent have the meanings given to them in the LLC
Agreement.
       WHEREAS, pursuant to Section 7.1(a) of the LLC Agreement, the Manager has the
exclusive right to manage and control the business and affairs of the Company, subject to the
provisions of Section 7.1(h) and Section 7.1(i); and
        WHEREAS, pursuant to Section 7.1(i) of the LLC Agreement, the prior unanimous
approval of the Class A Members is required in order for the Manager to cause the Company to
take certain actions, which include the filing a bankruptcy petition, incurring a secured or
unsecured debt in any amount, or the sale, transfer, or other disposition of all or substantially all
of the Company’s business or assets; and
        WHEREAS, the Manager previously appointed Timothy Furey as the Company’s Chief
Restructuring Officer (the “CRO”), to explore to the options available to the Company, including
without limitation, the possibility of pursuing a bankruptcy proceeding under Chapter 11 of title
11 of the United States Code (the “Bankruptcy Code”) or other types of restructuring or liquidation
for the Company and to negotiate with the Company’s creditors, explore a possible sale of the
Company or its assets, developing a plan to resolve the Company’s financial status and make a
recommendation to the Manager, which may include the filing of a voluntary petition seeking
relief under the provisions of Chapter 11, Title 11, of the United States Code (a “Bankruptcy
Petition”); and
         WHEREAS, the Manager and the Class A Members have considered the recommendation
of the CRO, the information provided by the employees and other representatives of the Company
and the advice of the Company’s advisors, the Manager has determined in his business judgment
that it is desirable and in the best interests of the Company and its creditors, employees, members
and other interested parties that a Bankruptcy Petition be filed in the United States Bankruptcy
Court for the District of Delaware by the Company seeking relief under the provisions of Chapter
11 of the Bankruptcy Code and the Class A Members are willing to approve such filing; and
              Case 23-10877-CTG          Doc 1     Filed 06/30/23     Page 15 of 21




         WHEREAS, pursuant to the proposed bankruptcy proceeding that would be initiated by
the filing of the Bankruptcy Petition (the “Bankruptcy Case”), the Company may engage in one or
more of the foregoing actions requiring Class A Members approval; and
        WHEREAS, the Class A Members are executing this consent to evidence its prior written
approval of the Company filing the Bankruptcy Petition, and entering into debtor in possession
financing, agreeing to a sale of all or substantially all of the Company’s assets and engaging in any
other transaction relating to the proceeding initiated by the filing of the Bankruptcy Petition that
would require the consent of the Class A Members under the LLC Agreement or the LLC Act and
is in furtherance of the reorganization or liquidation of the Company pursuant to the Bankruptcy
Case without further consent from or approval of the Class A Members.
      NOW, THEREFORE, BE IT RESOLVED, that the Company is authorized to file a
Bankruptcy Petition be filed in the United States Bankruptcy Court for the District of Delaware by
the Company seeking relief under the provisions of Chapter 11 of the Bankruptcy Code,
        AND BE IT FURTHER RESOLVED, that the CRO and any other officer or Manager of
the Company (each such Persons, an “Authorized Person” and together, the “Authorized
Persons”), acting alone or with one or more other Authorized Persons, is hereby authorized and
empowered on behalf of, and in the name of, the Company (a) to execute, verify and file all
documents necessary or appropriate in connection with the filing of the Bankruptcy Petition,
including, without limitation, all petitions, affidavits, declarations, schedules, statements of
financial affairs, lists, motions, applications, pleadings and other papers or documents in
connection with the Bankruptcy Case; (b) take and perform any and all actions deemed necessary
and proper to obtain such relief as authorized herein and in connection with the Bankruptcy Case;
(c) appear as necessary at all bankruptcy proceedings on behalf of the Company; and (d) pay all
such expenses where necessary or appropriate in order to carry out fully the intent and accomplish
the purposes of the resolutions as adopted herein.
        AND BE IT FURTHER RESOLVED, that the previous retention by the Company’s
management of the law firm of Bayard, P.A. (“Bayard”) as bankruptcy counsel, subject to any
requisite bankruptcy court approval, to the Company to represent and assist the Company in
connection with its consideration of various insolvency-related obligations and bankruptcy
alternatives, and to assist the Company in carrying out its duties under chapter 11 of the
Bankruptcy Code, and to take any and all actions to advance the Company’s rights in connection
therewith, is hereby approved and ratified, and each of the Authorized Persons is hereby authorized
and directed to execute and ratify appropriate retention agreements and to cause to be filed an
appropriate application for authority to retain the services of Bayard.
        AND BE IT FURTHER RESOLVED, that the Class A Members agree to cooperate with
any transaction that requires its participation to achieve the objectives of the Bankruptcy Case.
        AND BE IT FURTHER RESOLVED, that each of the Authorized Persons be, and each of
them hereby is, authorized to cause the Company to incur debtor in possession financing in an
amount determined to be necessary or advisable by any of such Authorized Persons to guaranty
the obligations of the Company in respect of such indebtedness, and to prepare (or cause to be
              Case 23-10877-CTG          Doc 1     Filed 06/30/23     Page 16 of 21




prepared), execute and file (or cause to be filed) any motion to incur debtor in possession financing,
and, upon authorization by the Manager and/or the CRO, to take and perform any and all further
acts and deeds which it deems necessary, proper or desirable in connection with the Bankruptcy
Case, with a view to the successful prosecution of the Bankruptcy Case;
        AND BE IT FURTHER RESOLVED, that each of the Authorized Persons be, and each of
them hereby is, authorized and directed to take any and all actions necessary and appropriate to
pursue and further the sale process with respect to the Company’s assets including, without
limitation, entering into any and all other purchase agreements (if applicable), and other ancillary
documents in connection therewith, subject to Bankruptcy Court approval;
        AND BE IT FURTHER RESOLVED, that each of the Authorized Persons be, and each of
them hereby is, authorized and directed on behalf of the Company to take such actions and to
make, sign, execute, acknowledge, deliver and perform (and record in a relevant office of the
county clerk, if necessary) any and all such agreements, affidavits, orders, directions, certificates,
requests, receipts, financing statements or other instruments, as may be necessary, desirable, or
appropriate in the reasonable discretion of any such Authorized Person to give effect to the
foregoing resolutions, and to execute and deliver such agreements (including exhibits thereto) and
related documents, and to perform fully the terms and provisions thereof;
        AND BE IT FURTHER RESOLVED, that the Company be, and hereby is, authorized to
pay all fees and expenses incurred by it or for its account in connection with the actions approved
in any or all of the foregoing resolutions, and all actions related thereto, and each Authorized
Person be, and each of them hereby is, authorized, empowered and directed to cause the Company
to make said payments as each such Authorized Person may deem necessary, appropriate,
advisable or desirable, such payment to constitute conclusive evidence of such Authorized
Person’s determination and approval of the necessity, appropriateness, advisability or desirability
thereof; and
         AND BE IT FURTHER RESOLVED, that to the extent that any of the actions authorized
by any of the foregoing resolutions have been taken previously by any Authorized Persons or
employees of the Company on its behalf, such actions are hereby ratified, approved and confirmed
in their entirety.
                                   [Signatures to Follow on Next Page]
             Case 23-10877-CTG        Doc 1    Filed 06/30/23     Page 17 of 21




       IN WITNESS WHEREOF, the undersigned, being the Sole Manager and all of the Class
A Members of the Company, do hereby execute this written consent as of the date first set forth
above.


MANAGER:


Alt
______________________________
David Johnston



CLASS A MEMBERS:


DSM TECH ENTERPRISES, INC.


   Alt
By:_________________________
  David Johnston
  Chief Executive Officer

FILE STORAGE COMPANY 1, INC.


   Alt
By:_________________________
  David Johnston
  Chief Executive Officer
                Case 23-10877-CTG         Doc 1    Filed 06/30/23      Page 18 of 21




                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF DELAWARE


 In re:                                             Chapter 11 (Subchapter V)

 FILE STORAGE PARTNERS, LLC,                        Case No. 23-[_______] ([___])

                            Debtor.


                        STATEMENT PURSUANT TO 11 U.S.C. § 1116

          I, Timothy Furey, hereby declare under penalty of perjury:

          1.     Debtor File Storage Partners, LLC has not prepared a statement of operations or

cash-flow statement.

          2.     Debtor File Storage Partners, LLC has prepared a balance sheet and income

statement, which have been appended to its voluntary petition for relief.

          3.     Debtor File Storage Partners, LLC has not filed a federal tax return. It was listed

as a passthrough entity on its non-Debtor parent File Storage Company 1 Inc.’s tax return.

  Dated: June 30, 2023                              /s/ Timothy Furey
                                                    Timothy Furey
                                                    Chief Restructuring Officer
                                                    File Storage Partners LLC
                      Case 23-10877-CTG   Doc 1    Filed 06/30/23   Page 19 of 21


Balance Sheet
File Storage Partners LLC 140446
As of June 30, 2023

  Account                                 Jun 30, 2023

Assets
 Current Assets
  DSM loan                                   93,330.85
  Filcoin - Collateral - Genesis              9,648.00     *
  Filecoin - Balance - Mining Pool        2,410,613.72     *
  Filecoin - Loan - DCENT                    24,120.00     *
  Filecoin - Loan - Filtech                  20,100.00     *
  Filecoin - Wallets - Worker & Owner       558,430.11     *
  Filecoin Asset - Anchorage Digital         14,146.16
  Loan - DSM Tech Enterprises             1,361,404.14
  Loan - Relay Services                      80,000.00
 Total Current Assets                       4,571,792.98
 Fixed Assets
  Accumulated Amortisation (ROU Assets) (826,878.41)
  Accumulated Amortization                (25,545.90)
  Accumulated Depreciation            (7,609,595.12)
  Factory Computer Equipment           13,035,250.10
  Right of Use Assets                   2,880,936.70
  Start up Costs - Legal Fees             204,663.50
 Total Fixed Assets                         7,658,830.87
Total Assets                               12,230,623.85


Liabilities and Equity
 Liabilities
  Current Liabilities
  Accounts Payable                        4,168,448.30
  Accruals                                  133,376.00
  Filcoin - Interest Payable - Genesis       61,193.48 *
  Interest Accrual - Inter Co Loans         673,812.21
  Loan - DLTx ASA                         1,187,659.18
  Total Current Liabilities                 6,224,489.17
  Long Term Liabilities
  Filcoin - Loan Payable - CoinList         964,531.27     *
  Filcoin - Loan Payable - DARMA             85,802.88     *
  Filcoin - Loan Payable - Genesis          709,186.50     *
  Filcoin - Loan Payable - Palladium        100,500.00     *
  Lease - Baseline                        2,652,614.71
  Loan - DLTx ASA - Investor Loan         1,000,000.00
                     Case 23-10877-CTG    Doc 1       Filed 06/30/23   Page 20 of 21


  Loan - FS01 - Equipment                 5,665,168.26
  Loan - FS01 - FIL                          61,728.13
  Loan - FS01 - Opex                         38,070.94
  Loan - FS02 - Equipment                 6,000,000.00
  Loan - FS02 - Genesis Collateral          500,000.00
  Loan - FS02 - Opex                        499,623.59
  Loan - FS03 - Equipment                 1,000,000.00
  Loan - FS03 - Opex                      1,211,034.58
  Loan - FS04 - Equipment                 3,000,000.00
  Loan - FS04 - Opex                        750,000.00
  Loan - Rec Rev Generator                  500,000.00
  Total Long Term Liabilities               24,738,260.86
 Total Liabilities                          30,962,750.03
 Equity
  Current Year Earnings                 (4,819,664.16)
  DSM Retained Earnings                   (444,722.41)
  File Storage Company 1 Retained Earnings(462,771.37)
  Retained Earnings                    (13,004,968.24)
 Total Equity                             (18,732,126.18)
Total Liabilities and Equity                12,230,623.85


  * Revalued as at close of business June 27th 2023
                 Case 23-10877-CTG       Doc 1      Filed 06/30/23   Page 21 of 21




Income Statement (Profit and Loss)
File Storage Partners LLC 140446
For the 6 months ended June 30, 2023

Account                                  Jan-Jun 2023


Income
Filecoin Rewards                          725,335.01 *
Total Income                                 725,335.01


Cost of Goods Sold
FIL Burn Fees                                7,234.24 *
Total Cost of Goods Sold                       7,234.24


Gross Profit                                 718,100.77


Operating Expenses
Amortisation - ROU Asset                   480,156.12
Amortization                                 6,822.12
Bank Charges & Fees                             (5.00)
Depreciation                             2,172,374.94
Interest - FilCoin Loans                   136,366.86 *
Interest - Inter Co Loans                  197,298.75
Interest - Lease                            69,660.08
Legal & Professional Services                  435.00
Management Fees                          1,080,000.00
Rent & Lease                             1,460,513.94
Total Operating Expenses                   5,603,622.81


Operating Income                          (4,885,522.04)


Other Income / (Expense)
Other Comprehensible Income - FileCoin      65,857.88
Total Other Income / (Expense)                65,857.88


Net Income                                (4,819,664.16)


* Revalued as at close of business June 27th 2023
